Case 8:16-cr-00371-CEH-TGW Document 8 Filed 08/31/16 Page 1 of 2 PagelD 12

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
Vv. CASE No. 8:16-cr-371-T-17TGW

JAMES MATTHEW CARTWRIGHT

ORDER OF DETENTION

THIS CAUSE came on to be heard at the time of the defendant’s
initial appearance. For the following reasons, the defendant should be
detained without bail.

The defendant has been charged with three counts relating to the
importation, possession, and distribution of the controlled substance acetyl
fentanyl. There is a rebuttable presumption that no condition of release, or
combination of conditions of release, will reasonably assure the appearance
of the defendant, or the safety of the community, if the court finds that there
is probable cause to believe that the offenses have been committed. 18 U.S.C.
3142(e). By virtue of the indictment returned against the defendant, probable
cause has been established to believe that the defendant committed the
offenses alleged in the indictment. Accordingly, there is a rebuttable
presumption that no condition of release will reasonably assure the

appearance of the defendant or the safety of the community.
Case 8:16-cr-00371-CEH-TGW Document 8 Filed 08/31/16 Page 2 of 2 PagelD 13

The defendant did not challenge the government’s request for
detention at this time but requested, and was granted, the opportunity to seek
to rebut the presumption in the future on the filing of an appropriate motion.

It is, therefore, upon consideration,

ORDERED:

1. That the defendant JAMES MATTHEW CARTWRIGHT
shall be DETAINED without bond.

2. That the defendant is hereby COMMITTED to the custody of
the Attorney General for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held
in custody pending appeal.

3. That the defendant shall be afforded reasonable opportunity
for private consultation with counsel.

4, That the person in charge of the corrections facility in which
the defendant is confined shall deliver the defendant to the United States
Marshal for the purpose of appearing in court.

DONE and ORDERED at Tampa, Florida, this 3¢“day of

August, 2016. .

THOMAS G. WILSON
UNITED STATES MAGISTRATE JUDGE

